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                                                               fCr%on'd1,..^"
                                                                 - -' " v 'rrsrlo
                                                          Ff LED
                           FoR THE wESTERN DISTRTcT oF ARKANSAS
                                                TBXARKANADIVISION
                                                                                           JUNO 7 trJIO
ANDREA LOLLIS,                                              )                              OiRlsR.JSfNsow,cLFHK
                                                            )                       Fr            c.o
                             Plaintiff,                     ,                                 owlfunx
                                                            )
         v'                                                 ))                   ct
                                                                           rD-+D-t
                                                                           r
MATTHEWS & MICHAELS,                                        )
                                                            )
                             Defendant.                     )

                                                       COMPLAINT

         NOW COMES the Plaintiff, ANDREA LOLLIS, by and throughher attorneys,LARRY

P. SMITH & ASSOCIATES,LTD., and for her complaintagainstthe Defendant,MATTHEWS

& MICHAELS, Plaintiff statesas follows:

                                         I.          PRnlrurnnny Srlrnunnr

          l.       This is an actionfor actualand statutorydamagesfor violationsof the Fair Debt

CollectionPracticesAct (hereinafter"FDCPA"), l5 U.S.C. 51692,et Sgg.

                                              II.     JuRrsttcrroN & VINUB

         2.        Jurisdictionarisesunderthe FDCPA, l5 U.S.C.$1692et seq.,andpursuantto28

U . S . C$. 1 3 3 1a n d 2 8U . S . C $. 1 3 3 7 .

         3.        Venueis properin this districtpursuantto 28 U.S.C.$1391(b).

                                                      IIL        Panttns

         4.        ANDREA LOLLIS, (hereinafter,"Plaintiff') is an individual who was at all

relevanttimesresidingin the City of Texarkana,Countyof Miller, Stateof Arkansas.

         5.        The debton which Defendantwas attemptingto collectwas a debtallegedlyowed

by Plaintiffs son.
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       6.      Upon informationand belief, the debt that Plaintiff s son allegedlyowed was for

an insurancepolicy that was incurredprimarily for the personaluseof Plaintiff s son and/orfor

his householdexpenditure.

       7.      MATTHEWS & MICHAELS, (hereinafter,"Defendant") is a businessentity

engagedin the collectionof debt within the Stateof Arkansas. Defendant'sprincipalplace of

businessis locatedin the Stateof Texas.

       8.      The principalpurposeof Defendant's
                                                businessis the collectionof debtsallegedly

owedto third parties.

       9.      Defendantregularlycollects,or attemptsto collect,debtsallegedlyowed to third

parties.

       10.    During the courseof its efforts to collect debtsallegedlyowed to third parties,

Defendantsendsto allegeddebtorsbills, statements,and/orother correspondence
                                                                          via the mail

and/or electronic mail and initiates contact with alleged debtors via various means of

telecommunication,
                suchasthe telephoneand facsimile.

       I l.   At all relevanttimes,Defendantactedas a debtcollectorasthat term is definedbv

l s U . S . C$
             . 1692a(6).

       12.    At all relevant times, Defendant acted through its duly authorized agents,

employees,officers,members,directors,heirs,successors,
                                                    assigns,principals,trustees,sureties,

subrogees,
        representatives,
                      and insurers.

                                    IV.     AllrcauoNs

       13.    On or aboutMarch 25,2010, Jordan,Defendant'sduly authorizedrepresentative,

initiateda telephonecall to Plaintiff at her placeof employmentin an attemptto locatePlaintiff s

son.
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        14.    During the courseof the aforementioned
                                                    telephonecall, Defendantstatedit was a

privateinvestigatorwho was trying to locatePlaintiff s sonregardinga claim that had beenfiled

againsthim. At that time, Plaintiff specificallyadvisedDefendantthat shedid not havelocation

informationfor her son.

        15.    Defendant'srepresentation
                                       that it was a privateinvestigatorwas false,misleading

anddeceptivegiven that Defendantis a debtcollectorwho at all relevanttimeswas attemptingto

collecta debtallegedlyowedby Plaintiff s son.

       16'    That sameday, despitebeing advisedthat Plaintiff did not know where her son

was andwithout Defendant'sreasonable
                                   belief that locationinformationprovidedby Plaintifffor

her son was incompleteor eroneous or that Plaintiff had more completeinformationas to her

son's location, Jordan initiated three (3) more telephonecalls to Plaintiff at her place of

employment.

       17.    During the courseof the aforementioned
                                                   telephonecallswith Defendant,Plaintiff

againreiteratedthat shedid not havelocationinformationfor her son.

       18.    On or aboutApril 7,2010, despitebeingadvisedthatPlaintiffdid not know where

her son was and without a reasonablebelief that the locationinformationprovidedby Plaintiff

for her sonwas incompleteor erroneousor that Plaintiff hadmorecompleteinformationasto her

son's location,Morgan,Defendant'sduly authorizedagent,initiateda telephonecall to Plaintiff

at her placeof employment.

       19.    During the courseof the aforementioned
                                                   telephonecall, Defendantstatedthat if

Plaintiff did not provide location information for her son then Defendantwould come to

Plaintiff s placeof employmentand would "force her to talk."
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        20.    On or about April 8, 2010, despitebeing advisedthat Plaintiff did not have

locationinformationfor her son,Morgan,initiatedanothertelephonecall to Plaintiff at her place

of employment.Defendantengagedin a telephonecall with Plaintiff s co-worker.

        2l'    During the aforementioned
                                       telephonecall betweenDefendantand plaintiff s co-

worker, Defendantstatedthat it neededto speakwith Plaintiffs supervisor.Defendantfurther

statedthat if it could not speakwith Plaintiff s supervisorthen it would go directlyto plaintiff s

placeof employmentto speakwith her supervisor.

        22.   Plaintiff s co-worker informed Plaintiff of the aforementionedstatementsmade

bv Defendant.

        23.   Defendant'sstatements,as delineatedabove, were not statementsmade in an

effort to seeklocationinformationregardingplaintiff s son.

        24.   The naturalconsequence
                                   of Defendant'sstatements,
                                                          as delineatedabove,was to

producean unpleasant
                   and/orhostilesituationbetweenDefendantandPlaintiff.

        25.   The naturalconsequence
                                   of Defendant'sstatements,
                                                          as delineatedabove,was to

causePlaintiff mentaldistress.

        26'   In its attemptsto collect the debt allegedlyowed by Plaintiffs son, Defendant

violatedthe FDCPA, 15 U.S.C.51692,with respectto Plaintiff in oneor moreof the followins

ways:

                  Engagedin conductthe naturalconsequence   ofwhich is to harass,oppressor
                  abuseany personin connectionwith the collectionof a debt in violationof l5
                  u.s.c.$1692d;

              b . Used false, deceptive,misleadingand unfair or unconscionablemeans to
                  collector attemptto collectan allegeddebtin violationof l5 U.S.C.$1692e;

              c . Used any false representation
                                              or deceptivemeansto collect or attemptto
                 collectany debtor to obtaininformationconcerningthe consumerin violation
                 o f l 5 U . S . C g. l 6 9 2 e ( 1 0 a
                                                      ) ;n d ,
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             d. Was otherwisedeceptiveand failed to comply with the provisionsof the
                FDCPA.

      27.    As a result of Defendant'sviolations as aforesaid,Plaintiff has suffered,and

continuesto suffer,personalhumiliation,embarrassment,
                                                   mentalanguishand emotionaldistress.

                                   V.     JuRy DrrlrlNo

      28.    Plaintiff herebydemandsa trial by jury on all issuesso triable.

                                VI.     PRlyBn ron Rplrnr

      WHEREFORE,Plaintiff, ANDREA LOLLIS,by andthroughher attorneys,respectfully

praysfor judgmentas follows:

             a.     All actualcompensatory
                                         damagessuffered;

             b.     Statutorydamages
                                   of $1,000.00;

             c      Plaintiff s attorneys'feesand costs;

             d.     Any otherrelief deemedappropriateby this HonorableCourt.

                                                           Respectfullysubmi



                                                             DavidM. Marco
                                                           Attorney for Plaintiff

   Dated:June1.2010

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